                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )       No. 2:13-CR-091
                                                 )
 MELLISA N. ROPER                                )


                            MEMORANDUM AND ORDER


              At a June 24, 2014 hearing, the defendant made an oral motion to continue

 her June 25 trial. The United States had just informed the court and the defense that a

 prosecution witness would be unavailable to testify due to having gone into labor. It is

 the defendant’s position that this person is a necessary witness for the defense. The

 United States opposed a continuance, arguing that this witness is not necessary to either

 side, and that other witnesses were already flying in from out-of-town.

              In light of the arguments presented, the court concludes that the unavailable

 witness at issue is in fact essential to the defense.      The continuance motion will

 accordingly be granted. The motion requires a delay in the proceedings. Therefore, all

 the time from the June 24, 2014 oral motion to the new trial date is excludable as

 provided by the Speedy Trial Act. 18 U.S.C. § 3161(h)(3)(A).




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              It is hereby ORDERED that the defendant’s oral motion to continue is

 GRANTED, and this criminal case is CONTINUED from June 25, 2014, to Tuesday,

 August 12, 2014, at 9:00 a.m. The court will conduct a pretrial Lafler/Frye hearing at

 8:30 a.m. on August 12, 2014.

             IT IS SO ORDERED.

                                                    ENTER:



                                                            s/ Leon Jordan
                                                      United States District Judge




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